
317 So.2d 89 (1975)
J.E.R., a Minor, Appellant,
v.
STATE of Florida, Appellee.
No. Y-158.
District Court of Appeal of Florida, First District.
August 25, 1975.
James Ron Shelley, Public Defender, Nancy Richardson, John W. Fleming, and Ernest L. Cotton, Asst. Public Defenders, for appellant.
Robert L. Shevin, Atty. Gen., and Richard W. Prospect, Asst. Atty. Gen., for appellee.
PER CURIAM.
The Circuit Court, in withholding adjudication of delinquency and placing this minor on probation after he admitted to breaking and entering with intent to commit petit larceny, assessed $100 in court costs against the minor and his parents in order, apparently, to impress upon them the seriousness of his misconduct. However well-motivated and effective that assessment may be, it was forbidden by the Legislature. Sec. 39.19, F.S. 1973. Insofar as the order from which the appeal was taken assesses court costs, it is
Reversed.
BOYER, C.J., and MILLS and SMITH, JJ., concur.
